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September 16, 2022


VIA ELECTRONIC FILING
Honorable Gene E.K. Pratter
United States District Court for the Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

       Re:     Bethany Katz v. DNC Services Corporation, et al.
               Docket No. 2:16-cv-05800-CDJ

Dear Judge Pratter:

Please accept this letter regarding the status of this matter, which is being provided after
consultation between the parties.

As the parties explained in prior submittals to the Court (Dkt. # 224-225), they have reached an
agreement in principle to settle this case. The parties have prepared a comprehensive written
settlement agreement; given the complexity of this hybrid action, they are continuing to work to
finalize the details of that agreement. Once the agreement is finalized, the parties will then prepare
a motion for preliminary approval.

The parties commit to continuing to work diligently to finalize the agreement and propose that the
Court set October 17, 2022 as the date by which the motion for preliminary approval will be filed.
In the event that the parties have not reached a final written agreement by this date, they will meet
and confer to propose an alteration to this date.

We thank the Court for its consideration to this request.

Respectfully submitted,

 /s Ben Stafford                   /s Lindsay McAleer                /s Justin L. Swidler
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